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 4
     Attorney for Defendant
 5
     MANUEL HERRERA
 6
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-11-296-WBS
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                                                     )
                                                     )
10          Plaintiff,                               )       STIPULATION AND [PROPOSED]
                                                     )       ORDER VACATING JUDGMENT AND
11
     v.                                              )       SENTENCING AND SETTING A STATUS
                                                     )       CONFERENCE
12
     MANUEL HERRERA,                                 )
                                                     )
13   SANDRA HERMOSILLO,                              )       Date: October 1, 2018
     MOCTEZUMA TOVAR, and                            )       Time: 9:00 a.m.
14
     JUN MICAHEL DIRAIN,                             )       Judge: WILLIAM B. SHUBB
                                                     )
15
                                                     )
            Defendants.
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            The United States of America through its undersigned counsel, Brian Fogerty, Assistant
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     United States Attorney, together with counsel for defendant Moctezuma Tovar, Thomas A.
21
     Johnson, Esq., counsel for defendant Sandra Hermosillo, Erin J. Radekin, Esq., counsel for
22
     defendant Jun Michael Dirain, Timothy Zindel, Esq., and counsel for defendant Manuel Herrera,
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     John R. Manning, Esq., hereby stipulate the following:
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     1. By previous order, this matter was set for judgment and sentencing on August 6, 2018.
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     2. By this stipulation the defendants now move to vacate the judgment and sentencing and set a
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     status conference on October 1, 2018.
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     3. The parties agree and stipulate, and request the Court find the following:
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           a. Co-defendants Ruben Rodriguez and Jaime Mayorga are awaiting a ruling in the
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 2             Ninth Circuit (oral argument is scheduled for August 16, 2018) which will determine

 3             whether or not there will be a third trial.
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           b. It is anticipated some of the defendants will testify if there is a third trial and therefore
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               the parties believe vacating their sentencing and scheduling a status conference on
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               October 1, 2018 is appropriate.

 8         c. The government does not object to the continuance.
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        IT IS SO STIPULATED.
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12
     Dated: June 27, 2018                                          /s/ John R. Manning
13                                                                 JOHN R. MANNING
                                                                   Attorney for Defendant
14                                                                 Manuel Herrera
15
     Dated: June 27, 2018                                          /s/ Thomas A. Johnson
16                                                                 THOMAS A. JOHNSON
                                                                   Attorney for Defendant
17                                                                 Moctezuma Tovar
18
     Dated: June 27, 2018                                          /s/ Erin J. Radekin
19                                                                 ERIN J. RADEKIN
                                                                   Attorney for Defendant
20                                                                 Sandra Hermosillo
21
     Dated: June 27, 2018                                          /s/ Timothy Zindel
22                                                                 TIMOTHY ZINDEL
                                                                   Attorney for Defendant
23                                                                 Jun Michael Dirain
24
     Dated: July 10, 2018                                          McGregor W. Scott
25                                                                 United States Attorney
26                                                           by:   /s/ Brian A. Fogerty
27
                                                                   BRIAN A. FOGERTY
                                                                   Assistant U.S. Attorney
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 2                                     ORDER
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           IT IS SO FOUND AND ORDERED.
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     Dated: July 11, 2018
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